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Exhibit List

 1.    Stephan Resume
 2.    Articles 15, 49, 108, 135, and 136 of Russian Constitution
 3.    Resolution 19-P of the Constitutional Court of the Russian Federation of June 16, 1998
 4.    Resolution 17-P of the Constitutional Court of the Russian Federation of December 20,
           1995
 5.    Federal Constitution Law on the Judicial System Article 19
 6.    Articles 3, 5, 24, and 275 of the Criminal Code
 7.    Article 14 of the Criminal Procedure Code
 8.    Federal Law No. 190-FZ of November 12, 2012, “On introducing changes into the
           Criminal Code of the Russian Federation and in Article 151 of the Criminal Procedure
           Code of the Russian Federation
 9.    Criminal Code of the Russian Federation No. 63-FZ of June 13, 1996, with amendments
           through March 1, 2012
10.    Explanatory Note to the draft federal law on amending to the Criminal Code of the Russian
           Federation and article 151 of the Criminal Procedure Code of the Russian Federation
11.    Ekaterina Vinokurova, A Law of Particular Application, @gazeta.ru, Oct. 23, 2012
12.    Anatolyi V. Naumov, The New Russian Criminal Code as a Reflection of Ongoing
           Reforms, 8 Criminal Law Forum 191 (1997)
13.    Treaty Between the United States of America and the Russian Federation on Mutual Legal
           Assistance in Criminal Matters
